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 1   ERIN J. RADEKIN
     Attorney at Law - SBN 214964
 2   1001 G Street, Suite 100
     Sacramento, California 95814
 3   Telephone: (916) 504-3931
     Facsimile: (916) 447-2988
 4
     Attorney for Defendant
 5   ARMANDO ESPINDOLA

 6

 7                         IN THE UNITED STATES DISTRICT COURT

 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,             )
                                           )     2:09-cr-00380-WBS
11                            Plaintiff,   )
                                           )     STIPULATION AND [PROPOSED] ORDER
12   v.                                    )     TO CONTINUE ADMIT/DENY OR
                                           )     EVIDENTIARY HEARING
13                                         )
     ARMANDO ESPINDOLA,                    )
14                                         )
                             Defendant.    )
15   __________________________________    )

16
                                        STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jeremy J. Kelley, and defendant, Armando
19
     Espindola, by and through his counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for admit/deny hearing or evidentiary hearing,
21
     November 14, 2016 at 9:00 a.m., in the above-captioned matter, and to
22
     continue the hearing to December 19, 2016 at 9:00 a.m. in the courtroom of
23
     the Honorable William B. Shubb.
24
           The parties previously agreed to set the matter for admit/deny hearing,
25
     or in the alternative, an evidentiary hearing, on November 14, 2016 to
26
     accommodate witness schedules.    On October 19, 2016, the government provided
27
     additional police reports to Ms. Radekin.    In light of such reports, Ms.
28



                                    Stipulation and Order - 1
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 1   Radekin has made a request for impeachment materials from the personnel files

 2   of some of the police officers involved in the investigation of the alleged

 3   violation of supervised release pursuant to United States v. Henthorn, 931

 4   F.2d 29 (9th Cir. 1991).      The parties thus need additional time to allow the

 5   government to process the request and the defense to review any materials

 6   disclosed pursuant to such request and prepare Mr. Espindola’s defense in

 7   light of such materials.      The court is advised Mr. Kelley and United States

 8   Probation Officer Jose Figueroa concur with this request and Mr. Kelley has

 9   authorized Ms. Radekin to sign this stipulation on his behalf.

10            Accordingly, the parties respectfully request the Court adopt this

11   proposed stipulation.

12   IT IS SO STIPULATED.

13   Dated: October 26, 2016                          PHILLIP A. TALBERT
                                                      Acting United States Attorney
14
                                             By:       /s/ Jeremy J. Kelley
15                                                    JEREMY J. KELLEY
                                                      Assistant United States Attorney
16

17   Dated: October 26, 2016                           /s/ Erin J. Radekin
                                                      ERIN J. RADEKIN
18                                                    Attorney for Defendant
                                                      ARMANDO ESPINDOLA
19

20
                                              ORDER
21
              For the reasons set forth in the accompanying stipulation and
22
     declaration of counsel, the admit/deny or evidentiary hearing date of
23
     November 14, 2016 is VACATED and the above-captioned matter is set for
24
     admit/deny or evidentiary hearing on December 19, 2016 at 9:00 a.m.
25
     IT IS SO ORDERED.
26
     Dated:     October 27, 2016
27

28



                                       Stipulation and Order - 2
